     Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.291 Page 1 of 18



 1 Julian McMillan (SBN241937)
   McMillan Law Group, APC
 2 4655 Cass St., Suite 404
   San Diego, CA 92109
 3 PH: 619.795.9430
   FX: 619.241.8291
 4
   Attorney for Plaintiffs
 5
 6
                         UNITED STATES DISTRICT COURT
 7
 8                     SOUTHERN DISTRICT OF CALIFORNIA

 9
10
      JAMES WARYCK and SANGAM SHETH             Case No. 3:22-cv-01096-L-MDD
11
                                                DELCARATION OF JULIAN MCMILLAN
12 Plaintiffs,                                  IN SUPPORT OF OPPOSITION TO
                                                MOTION TO TRANSFER VENUE TO
13 v.                                           INDIANA FEDERAL COURT
14
      THOR MOTOR COACH, INC.; FORD              Hearing Date: 10/21/22
15 MOTOR COMPANY; MIKE THOMPSON                 Hearing Time: 10:30 a.m.
      RECREATIONAL VEHICLES, SANTA FE           Courtroom: 5B
16 SPRINGS
17 INLAND EMPIRE RV CENTER, INC.                Honorable M. James Lorenz
      d/b/a MIKE THOMPSON RECREATIONAL
18    VEHICLES, SANTA FE SPRINGS RV, and
      RELIABLE DELIVERY SERVICES, INC
19
                        Defendants
20
21
22
23
24
25
26
27
28
                                            0
     Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.292 Page 2 of 18



 1         I, JULIAN MCMILLAN, am counsel of record for Plaintiffs James
 2 Waryck and Sangam Sheth in California Southern District Court Case 3:22-cv-
 3 01096-L-MDD (“THE CASE”). I am over the age of eighteen (18) years and I
 4 am competent to testify regarding the facts contained herein. I possess
 5 personal knowledge of the facts contained herein and if called upon to testify I
 6 could and would do so as follows:
 7         1.    Upon review of the Motion to Transfer Venue, I began searching
 8 for suitable attorneys in the state of Indiana to take over the handling of The
 9 Case. Attached hereto as EXHIBIT A is a true and correct copy of the email
10 correspondence I received from some of the attorneys operating in Indiana for
11 Motor Home Lemon cases I was able to contact.
12         2.    Several Indiana attorneys referred me to Ronald Burdge who
13 appears to be the only attorney in Indiana (though he operates and is licensed in
14 Ohio) who handles RV cases. His email response makes a number of references
15 to Ohio law. A search of the California Bar website reveals that he is not
16 qualified to practice California Law. As well, the Court can see from Mr.
17 Burdge’s email, that he will seek to have the clients advance costs if he is to take
18 on The Case.
19         3.    Attached hereto as EXHIBIT B is a true and correct copy of the
20 online registration for Thor Motor Coach, Inc., I downloaded from the California
21 Secretary of State’s website.
22         4.    Attached hereto as EXHIBIT C is a true and correct copy of the
23 online registration for Mike Thompson Recreational Vehicles, Santa Fe Springs
24 RV, I downloaded from the California Secretary of State’s website.
25         5.    Attached hereto as EXHIBIT D is a true and correct copy of the
26 online registration for Reliable Delivery Service, Inc., I downloaded from the
27 California Secretary of State’s website.
28         6.    It is my opinion that Defendants are seeking to change venue in

                                                Declaration of Julian McMillan        – pp.   1
     Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.293 Page 3 of 18



 1 order to make the litigation unfeasible for Plaintiffs such as to encourage early
 2 settlement at an amount lower than Plaintiffs would be entitled to were The Case
 3 handled here in California where all of the operative facts occurred, where all of
 4 the percipient witnesses are located and where the principal piece of evidence is
 5 located.
 6
 7
 8 Dated: October 3, 2022                  MCMILLAN LAW GROUP, APC

 9                                         By:      /s/ Julian McMillan, Esq.
10                                                  Julian McMillan, Esq.
                                                    Attorney for Plaintiffs
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 Declaration of Julian McMillan     – pp.   2
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.294 Page 4 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.295 Page 5 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.296 Page 6 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.297 Page 7 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.298 Page 8 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.299 Page 9 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.300 Page 10 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.301 Page 11 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.302 Page 12 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.303 Page 13 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.304 Page 14 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.305 Page 15 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.306 Page 16 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.307 Page 17 of 18
Case 3:22-cv-01096-L-KSC Document 14-1 Filed 10/03/22 PageID.308 Page 18 of 18
